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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

ALONZO HAMPTON                                                                 PLAINTIFF
ADC #137559

V.                          CASE NO. 4:20-CV-1112-JM-BD

WENDY KELLEY,
Secretary of Correction, ADC;
DEXTER PAYNE,
Director, Arkansas Division of Correction;
RAYMOND NAYLOR,
Disciplinary Hearing Administrator;
JARED BYERS,
Head Warden, Maximum Security Unit;
KEITH WADDLE;
JUSTINE MINOR; and
LASONYA SCOTT                                                               DEFENDANTS
                                     ORDER

       The Court has received the Recommendation for dismissal of this lawsuit. Mr.

Hampton filed timely objections. After a de novo review of the file, the Court concludes

that the Recommendation should be, and hereby is, approved and adopted as this Court’s

findings in all respects.

       Mr. Hampton’s claims are DISMISSED, without prejudice, based on his failure to

state a constitutional claim for relief. This dismissal counts as a “strike” for purposes 28

U.S.C. § 1915(g). An appeal of this decision would be frivolous and would not be taken

in good faith.

       IT IS SO ORDERED, this 19th day of October, 2020.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
